Case 1:21-cv-01071-JRS-TAB Document 23 Filed 09/07/21 Page 1 of 1 PageID #: 161




                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF INDIANA


SOCIAL POSITIONING INPUT SYSTEMS,
LLC,

              Plaintiff,                                  Case No. 1:21-cv-1071-JRS-TAB

       v.                                                          PATENT CASE

NETSOFT HOLDINGS, LLC d/b/a                                JURY TRIAL DEMANDED
TICKETBUD

              Defendant.


                                  ORDER OF DISMISSAL

       The parties, having filed their Joint Stipulation of Dismissal, and the Court, being duly

 advised, hereby APPROVES the Joint Stipulation, and hereby ORDERS the following:

       1.     All claims asserted by the Plaintiff in this Action are dismissed with prejudice and

              all claims asserted by the Defendant in this Action are dismissed without

              prejudice under Fed. R. Civ. P. 41(a)(1)(A)(ii);

       2.     Each party shall bear its own costs and attorneys’ fees with respect to the matters
              dismissed hereby;

       SO ORDERED.


      Date: 9/7/2021




       Service made electronically on
       all ECF-registered counsel of records
       via e-mail generated by the Court’s ECF system
